
982 So.2d 1277 (2008)
Steven B. GUIDRY, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D08-0565.
District Court of Appeal of Florida, First District.
June 5, 2008.
Jack Behr, Public Defender, First Judicial Circuit, and James W. Tongue, Assistant Public Defender, Shalimar, for Petitioner.
Bill McCollum, Attorney General, and C. Bowen Robinson, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. Petitioner shall be allowed a belated appeal from the judgment and sentence rendered on September 4, 2007, in Okaloosa County Circuit Court case number 2006-CF-513. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(5)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
WEBSTER, DAVIS, and HAWKES, JJ., concur.
